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                                                                    Hearing Date: May 6, 2009 at 11 a.m. (ET)
                                                           Objection Deadline: April 29, 2009 at 4:00 p.m. (ET)

Richard M. Cieri
Jonathan S. Henes
Colin M. Adams
KIRKLAND & ELLIS LLP
Citigroup Center
153 East 53rd Street
New York, New York 10022-4611
Telephone:    (212) 446-4800
Facsimile:    (212) 446-4900

Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          )
In re:                                                    )     Chapter 11
                                                          )
TRONOX INCORPORATED, et al.,1                             )     Case No. 09-10156 (ALG)
                                                          )
                          Debtors.                        )     Jointly Administered
                                                          )

                     NOTICE OF TRONOX’S STATEMENT OF SUBSTANTIAL
                COMPLIANCE WITH, AND MOTION FOR ENTRY OF AN ORDER
                   MODIFYING, THE REPORTING REQUIREMENTS OF RULE
                2015.3 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

           PLEASE TAKE NOTICE that a hearing (the “Hearing”) on Tronox’s Statement of

Substantial Compliance with (the “Statement”), and Motion for Entry of an Order Modifying, the

Reporting Requirements of Rule 2015.3 of the Federal Rules of Bankruptcy Procedure (the

“Motion”) will be held before the Honorable Allan L. Gropper of the United States Bankruptcy

Court for the Southern District of New York (the “Bankruptcy Court”), in Room 617, One

Bowling Green, New York, New York, on May 6, 2009 at 11:00 a.m. (ET).

1    The Debtors in these cases include: Tronox Luxembourg S.ar.L.; Tronox Incorporated; Cimarron Corporation;
     Southwestern Refining Company, Inc.; Transworld Drilling Company; Triangle Refineries, Inc.; Triple S, Inc.;
     Triple S Environmental Management Corporation; Triple S Minerals Resources Corporation; Triple S Refining
     Corporation; Tronox LLC; Tronox Finance Corp.; Tronox Holdings, Inc.; Tronox Pigments (Savannah) Inc.;
     and Tronox Worldwide LLC.




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           PLEASE TAKE FURTHER NOTICE that any responses or objections to the Statement

or the Motion must be in writing, shall conform to the Federal Rules of Bankruptcy Procedure

and the Local Bankruptcy Rules for the Southern District of New York, and shall be filed with

the Bankruptcy Court electronically by registered users of the Bankruptcy Court’s case filing

system (the User’s Manual for the Electronic Case Filing System can be found at

www.nysb.uscourts.gov, the official website for the Bankruptcy Court) and, by all other parties

in interest, on a 3.5 inch disk, in text-searchable Portable Document Format (PDF), Wordperfect

or any other Windows-based word processing format (in either case, with a hard-copy delivered

directly to Chambers), and shall be served upon (a) counsel to Tronox, Kirkland & Ellis LLP,

Citigroup Center, 153 East 53rd Street, New York, New York 10022-4611, Attn: Jonathan S.

Henes, Esq. and Colin M. Adams, Esq.; (b) the Office of the United States Trustee for the

Southern District of New York, 33 Whitehall Street, 21st Floor, New York, New York 10004,

Attn: Susan D. Golden, Esq.; (c) counsel to the agent for Tronox’s prepetition and postpetition

secured lenders, Cravath, Swaine & Moore LLP, 825 Eighth Avenue, New York, NY 10019-

7475, Attn: Robert H. Trust, Esq.; (d) counsel to the official committee of unsecured creditors,

Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New

York 10019-6064, Attn: Alan W. Kornberg, Esq. and Elizabeth McColm, Esq.; (e) proposed

counsel to the official committee of equity security holders, Pillsbury Winthrop Shaw Pittman

LLP, 1540 Broadway, New York, New York 10036-4039, Attn: Craig A. Barbarosh, Esq. and

David A. Crichlow, Esq.; (f) the Office of the United States Attorney for the Southern District of

New York and the Environmental Protection Agency, Attn: Matthew L. Schwartz, Esq.,

Assistant United States Attorney, Southern District of New York, 86 Chambers Street, 3rd Floor,

New York, New York 10007; and (g) all those persons and entities that have formally requested



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notice by filing a written request for notice pursuant to Bankruptcy Rule 2002 and the Local

Bankruptcy Rules (with service on such parties by email only), so as to be actually received no

later than April 29, 2009 at 4:00 p.m. (ET). Only those responses that are timely filed, served

and received will be considered at the Hearing. Failure to file a timely objection may result in

entry of a final order granting the Motion as requested by Tronox.

New York, New York                                  /s/ Colin M. Adams
Dated: April 3, 2009                                Richard M. Cieri
                                                    Jonathan S. Henes
                                                    Colin M. Adams
                                                    KIRKLAND & ELLIS LLP
                                                    Citigroup Center
                                                    153 East 53rd Street
                                                    New York, New York 10022-4611
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                                                    Facsimile:    (212) 446-4900

                                                    Counsel to the Debtors
                                                    and Debtors in Possession




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                                                                    Hearing Date: May 6, 2009 at 11 a.m. (ET)
                                                           Objection Deadline: April 29, 2009 at 4:00 p.m. (ET)

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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          )
In re:                                                    )     Chapter 11
                                                          )
TRONOX INCORPORATED, et al.,1                             )     Case No. 09-10156 (ALG)
                                                          )
                          Debtors.                        )     Jointly Administered
                                                          )

                            TRONOX’S STATEMENT OF SUBSTANTIAL
                     COMPLIANCE WITH, AND MOTION FOR ENTRY OF AN
                ORDER MODIFYING, THE REPORTING REQUIREMENTS OF RULE
                 2015.3 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

           The above-captioned debtors (collectively, “Tronox”) hereby submit this statement of

substantial compliance with Rule 2015.3 of the Federal Rules of Bankruptcy Procedure and

move the Court, pursuant to this motion (the “Motion”), for entry of an order (the “Order”),

substantially in the form attached hereto as Exhibit A, modifying the reporting requirements of

Rule 2015.3 of the Federal Rules of Bankruptcy Procedure. In support of the Statement and the

Motion, Tronox respectfully states as follows:

1    The Debtors in these cases include: Tronox Luxembourg S.ar.L; Tronox Incorporated; Cimarron Corporation;
     Southwestern Refining Company, Inc.; Transworld Drilling Company; Triangle Refineries, Inc.; Triple S, Inc.;
     Triple S Environmental Management Corporation; Triple S Minerals Resources Corporation; Triple S Refining
     Corporation; Tronox LLC; Tronox Finance Corp.; Tronox Holdings, Inc.; Tronox Pigments (Savannah) Inc.;
     and Tronox Worldwide LLC.




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                                           Jurisdiction

           1.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

           2.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           3.   The statutory basis for the relief requested herein is Rule 2015.3(d) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                           Background

           4.   On January 12, 2009 (the “Petition Date”), Tronox filed petitions with the Court

under chapter 11 of 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”). Tronox is operating its

businesses and managing its properties as debtor in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. Tronox’s chapter 11 cases (collectively, the “Chapter 11 Cases”)

are consolidated for procedural purposes only and are being jointly administered pursuant to

Bankruptcy Rule 1015(b). On January 21, 2009, the United States Trustee for the Southern

District of New York (the “U.S. Trustee”) appointed an official committee of unsecured creditors

(the “Creditors’ Committee”). On March 13, 2009, the U.S. Trustee appointed an official

committee of equity security holders (the “Equity Committee”). No request for the appointment

of a trustee or examiner has been made in the Chapter 11 Cases.

           5.   Tronox, together with its non-debtor affiliates, is among the world’s leading

producers of titanium dioxide pigment and electrolytic and other specialty chemicals. Tronox’s

products are used in the manufacture of a number of everyday goods and consumer products

such as paints, coatings, plastics, paper, batteries, toothpaste, sunscreen and shampoo. Tronox

has approximately 1,100 customers located in more than 100 countries.




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Tronox Incorporated

           6.     The debtors in the Chapter 11 Cases include Tronox Incorporated and 14 of its

direct and indirect wholly-owned subsidiaries. Tronox Incorporated also: (a) is the indirect

parent company of 18 wholly-owned non-debtor subsidiaries (the “Wholly-Owned Non-

Debtors”)2; (b) indirectly owns non-controlling equity investments in two non-debtor entities

(the “Equity Investment Non-Debtors”)3; and (c) indirectly owns undivided 50% interests in the

assets of four non-debtor entities comprising a joint venture in Australia (the “Joint Venture

Non-Debtors”4, and together with the Wholly-Owned Non-Debtors and the Equity Investment

Non-Debtors, the “Non-Debtor Entities”).

           7.     Tronox Incorporated is a publicly traded corporation whose stock was traded on

the New York Stock Exchange under the symbols TRX and TRX.B from November 28, 2005




2    The Wholly-Owned Non-Debtors include (with state or country of incorporation in parentheses): Tronox
     Funding LLC (Delaware); Tronox Western Australia Pty Ltd. (Western Australia); Tronox Pigments Ltd.
     (Bahamas Islands); Tronox B.V. (Netherlands); Tronox Finance B.V. (Netherlands); Tronox Pigments
     (Singapore) Pte Ltd. (Singapore); Tronox Luxembourg Holding S.ar.L (Luxembourg); Tronox Switzerland
     Holding GmbH (Switzerland); Tronox Pigments International GmbH (Switzerland); Tronox Holdings Europe
     C.V. (Netherlands); Tronox Pigments (Netherlands) B.V. (Netherlands); Tronox Denmark International ApS
     (Denmark); Tronox International ApS (Denmark); Tronox Pigments (Holland) B.V. (Netherlands); Tronox
     GmbH (Germany); Tronox Pigments GmbH (Germany); and Tronox Pigments S.pr.L (Belgium).

3    The Equity Investment Non-Debtors include (with state of incorporation in parentheses) Basic Management,
     Inc. (Nevada) and The LandWell Company, L.P. (none). Tronox Incorporated’s interests in the Equity
     Investment Non-Debtors are carried as a component of long-term receivables, investments and other assets in
     the consolidated balance sheet at cost, adjusted for equity in undistributed earnings.

4    The Joint Venture Non-Debtors, each of which is incorporated in Western Australia, include: Tiwest Joint
     Venture; Tiwest Pty Ltd.; Tiwest Sales Pty Ltd.; and Jurien Exploration Joint Venture.

     The Joint Venture Non-Debtors comprise the operating assets of Tronox Incorporated’s joint venture with
     Exxaro Australia Sands Pty Ltd. (the “Tiwest Joint Venture”). Wholly-Owned Non-Debtor Tronox Western
     Australia Pty Ltd., which is a wholly-owned subsidiary of debtor Tronox LLC, owns a 50% undivided interest
     in all of the assets which comprise the operations conducted by the Tiwest Joint Venture, and is severally liable
     for 50% of associated liabilities.




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until September 30, 2008. Since that time, the stock of Tronox Incorporated has traded on the

Over the Counter Bulletin Board, most recently under the symbols TRXAQ and TRXBQ.

Tronox Incorporated’s SEC Filings

           8.     As a public corporation, Tronox Incorporated is required to file periodic reports

with the United States Securities and Exchange Commission (the “SEC”) pursuant to section 13

of the Securities Exchange Act of 1934, 15 U.S.C. § 78a et seq., and the regulations promulgated

thereunder (collectively, the “Securities Laws”). These periodic reports include an annual report

on form 10-K, quarterly reports on form 10-Q, current reports on form 8-K, and various other

reports required by the Securities Laws (collectively, the “SEC Filings”). Tronox Incorporated

has continued to make its SEC Filings since the Petition Date.5 These reports are available to the

public at http://www.tronox.com/ir/financial/index.htm.

           9.     Pursuant to Parts 210.3 and 210.3A of Regulation S-X of the Securities Laws, 17

C.F.R. §§ 210.3 and 210.3A, Tronox Incorporated’s SEC Filings contain consolidated financial

information regarding the balance sheets and statements of income and cash flows of the Tronox

debtors as well as the Non-Debtor Entities, with the exception of the Equity Investment Non-

Debtors, whose impact on the results of Tronox Incorporated is stated separately in the SEC

Filings.6


5    Tronox Incorporated has not yet filed its annual report on form 10-K for the period ended December 31, 2008,
     which report was due on March 16, 2009. On March 16, 2009, Tronox Incorporated filed form 12b-25,
     indicating its inability to timely file its 2008 10-K, as Tronox Incorporated requires additional time for a more
     thorough review of financial and other disclosures regarding potential asset impairments and environmental
     reserves. Tronox Incorporated expects to finalize its impairment analysis and report the same in a current report
     on form 8-K filed with the SEC by the middle of April 2009.

6    Results for the Equity Investment Non-Debtors are listed on page 11 of Tronox Incorporated’s most recent
     quarterly report on form 10-Q, filed on November 7, 2008, under the heading “Summarized Combined
     Financial Information of Affiliates”. This report is available publicly at:
     http://www.sec.gov/Archives/edgar/data/1328910/000095013408019894/d65058e10vq.htm.




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           10.   The instructions to Part 210.3A-02 of Regulation S-X, titled “Consolidated

Financial Statements of the Registrant and its Subsidiaries”, state as follows:

                 In deciding upon consolidation policy, the registrant must consider
                 what financial presentation is most meaningful in the
                 circumstances and should follow in the consolidated financial
                 statements principles of inclusion or exclusion which will clearly
                 exhibit the financial position and results of operations of the
                 registrant. There is a presumption that consolidated statements are
                 more meaningful than separate statements and that they are
                 usually necessary for a fair presentation when one entity directly
                 or indirectly has a controlling financial interest in another entity.

17 C.F.R. § 210.3A-02 (emphasis supplied).

As a consequence of these instructions, Tronox Incorporated consolidates the financial

information of the Non-Debtor Entities (with the exception of the Equity Investment Non-

Debtors) in the SEC Filings.

                               Statement of Substantial Compliance

           11.   Tronox believes that because Tronox Incorporated has continued to make its SEC

Filings since the Petition Date, Tronox is already in substantial compliance with Bankruptcy

Rule 2015.3(a), which requires (as detailed more fully below) that Tronox file periodic reports

regarding the financial condition of the Non-Debtor Entities. However, out of an abundance of

caution, Tronox has filed this Motion under Bankruptcy Rule 2015.3(d), respectfully requesting

that this Court modify the reporting requirements of Bankruptcy Rule 2015.3(a) for cause, on the

grounds that the information required by Bankruptcy Rule 2015.3(a) is already publicly

available.

                                          Relief Requested

           12.   For the reasons set forth herein, Tronox respectfully requests entry of an Order

pursuant to Bankruptcy Rule 2015.3(d) modifying the reporting requirements of Bankruptcy

Rule 2015.3(a). Specifically, Tronox requests that this Court find that the information publicly

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available in the SEC Filings satisfies the reporting requirements of Bankruptcy Rule 2015.3(a),

and thus that cause exists under Bankruptcy Rule 2015.3(d) for this Court to modify the

reporting requirements of Bankruptcy Rule 2015.3(a).

                                           Basis for Relief

           13.   Bankruptcy Rule 2015.3(a) requires that a chapter 11 debtor file periodic reports

regarding the financial condition of non-debtor entities which are either privately held or in

which the debtor holds a substantial or controlling interest. Specifically, Bankruptcy Rule

2015.3(a) provides that:

                 In a chapter 11 case, the … debtor in possession shall file periodic
                 financial reports of the value, operations, and profitability of each
                 entity that is not a publicly traded corporation or a debtor in a case
                 under title 11, and in which the estate holds a substantial or
                 controlling interest.

Fed. R. Bankr. P. 2015.3(a).

           14.   However, Bankruptcy Rule 2015.3(d), titled “Modification of Reporting

Requirement”, authorizes the Bankruptcy Court to alter the reporting requirements of

Bankruptcy Rule 2015.3(a) “for cause”, providing in relevant part that:

                 The court may … vary the reporting requirement established by
                 [Bankruptcy Rule 2015.3(a)] for cause, including that … the
                 information required by [Bankruptcy Rule 2015.3(a)] is publicly
                 available.

Fed. R. Bankr. P. 2015(d).

           15.   Bankruptcy Rule 2015.3 has been in effect for less than five months and there is

little interpretive guidance regarding the parameters for compliance. However, the language of

Bankruptcy Rule 2015.3(d) suggests that information already available to the public in the form

of Tronox Incorporated’s SEC Filings should satisfy the reporting requirements of Bankruptcy

Rule 2015.3(a) with respect to the Non-Debtor Entities.


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           16.   As detailed above, the SEC Filings contain consolidated information regarding

the value, operations and profitability of Tronox Incorporated, which includes financial

information regarding both the Tronox debtors and the Non-Debtor Entities. Thus, Tronox

respectfully requests that this Court find that the information required by Bankruptcy Rule

2015.3(a) is “publicly available” within the meaning of Bankruptcy Rule 2015.3(d).

           17.   Moreover, the relief requested herein will not prejudice any party in interest.

Since the Petition Date, Tronox has worked cooperatively with its prepetition and postpetition

secured lenders, the U.S. Trustee, the Creditors’ Committee and, more recently, the Equity

Committee, to provide access to Tronox’s books and records, including disclosures relating to

the Non-Debtor Entities. In addition, on March 30, 2009, Tronox filed its statements of financial

affairs and schedules of assets and liabilities pursuant to section 521 of the Bankruptcy Code,

which provided considerable information regarding Tronox’s business operations and financial

position to all parties in interest in the Chapter 11 Cases.

                                          Motion Practice

           18.   This Motion includes citations to the applicable rules and statutory authorities

upon which the relief requested herein is predicated, and a discussion of their application to this

Motion. Accordingly, Tronox submits that this Motion satisfies Rule 9013-1(a) of the Local

Bankruptcy Rules for the Southern District of New York.

                                                Notice

           19.   Tronox has provided notice of this Motion to: (a) the U.S. Trustee; (b) counsel to

the agent for Tronox’s prepetition and postpetition secured lenders; (c) counsel to the Creditors’

Committee; (d) proposed counsel to the Equity Committee; (e) the Office of the United States

Attorney for the Southern District of New York; (f) the Environmental Protection Agency; and

(g) all those persons and entities that have formally appeared and requested service in these cases

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pursuant to Bankruptcy Rule 2002.        In light of the nature of the relief requested, Tronox

respectfully submits that no further notice is necessary.

                                         No Prior Request

           20.   No prior motion for the relief requested herein has been made to this or any other

court.




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           WHEREFORE, Tronox respectfully requests entry of an Order, substantially in the form

attached hereto as Exhibit A, (a) modifying the reporting requirements of Bankruptcy Rule

2015.3(a) and (b) granting such other and further relief as is just and proper.

New York, New York                                   /s/ Colin M. Adams
Dated: April 3, 2009                                 Richard M. Cieri
                                                     Jonathan S. Henes
                                                     Colin M. Adams
                                                     KIRKLAND & ELLIS LLP
                                                     Citigroup Center
                                                     153 East 53rd Street
                                                     New York, New York 10022-4611
                                                     Telephone:    (212) 446-4800
                                                     Facsimile:    (212) 446-4900

                                                     Counsel to the Debtors
                                                     and Debtors in Possession




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                                   EXHIBIT A

                                  Proposed Order




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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK

                                                            )
In re:                                                      )     Chapter 11
                                                            )
TRONOX INCORPORATED, et al.,1                               )     Case No. 09-10156 (ALG)
                                                            )
                           Debtors.                         )     Jointly Administered
                                                            )

              ORDER MODIFYING THE REPORTING REQUIREMENTS OF
          RULE 2015.3 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

           Upon the motion (the “Motion”)2 of the above-captioned debtors (collectively, “Tronox”)

for entry of an order (the “Order”) modifying the reporting requirements of Rule 2015.3 of the

Federal Rules of Bankruptcy Procedure; and it appearing that the relief requested is in the best

interests of Tronox’s estates, its creditors and other parties in interest; the Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

and 1334; consideration of the Motion and the relief requested therein being a core proceeding

pursuant to 28 U.S.C. § 157(b); venue being proper before this court pursuant to 28 U.S.C.

§§ 1408 and 1409; notice of the Motion having been adequate and appropriate under the

circumstances; and after due deliberation and sufficient cause appearing therefor, it is hereby

ORDERED

           1.     The Motion is granted in its entirety.




1    The Debtors in these cases include: Tronox Luxembourg S.ar.L.; Tronox Incorporated; Cimarron Corporation;
     Southwestern Refining Company, Inc.; Transworld Drilling Company; Triangle Refineries, Inc.; Triple S, Inc.;
     Triple S Environmental Management Corporation; Triple S Minerals Resources Corporation; Triple S Refining
     Corporation; Tronox LLC; Tronox Finance Corp.; Tronox Holdings, Inc.; Tronox Pigments (Savannah) Inc.;
     and Tronox Worldwide LLC.

2    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.




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           2.   Tronox Incorporated’s SEC Filings satisfy Tronox’s reporting requirements under

Rule 2015.3(a) of the Federal Rules of Bankruptcy Procedure.

           3.   Tronox is authorized to take all actions necessary to effectuate the relief granted

pursuant to this Order in accordance with the Motion.

           4.   Notwithstanding the possible applicability of Rules 6004(h), 7062, and 9014 of

the Federal Rules of Bankruptcy Procedure or otherwise, the terms and conditions of this Order

shall be immediately effective and enforceable upon its entry.

           5.   The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

New York, New York
Date: ______________, 2009                            United States Bankruptcy Judge




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